The STATE of Nevada; the State of Nevada Department of Corrections; James Dzurenda, Director of the Nevada Department of Corrections, in His Official Capacity; Ihsan Azzam, Ph.D., M.D., Chief Medical Officer of the State of Nevada, in His Official Capacity; and John Doe, Attending Physician at Planned Execution of Scott Raymond Dozier in His Official Capacity, Petitioners, v. The EIGHTH JUDICIAL DISTRICT COURT of the State of Nevada, IN AND FOR the COUNTY OF CLARK; and the Honorable Elizabeth Goff Gonzalez, District Judge, Respondents, and Alvogen, Inc. ; Hikma Pharmaceuticals USA, Inc.; and Sandoz Inc., Real Parties in Interest.GRANTED.